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§
Lorie Davis §

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All parties to this case Waive their right to.proceed before a district judge and
consent to have a United States Magistrate Judge conduct all further proceedings,
including the trial and judgment 28 U.S.C. § 636(c).

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Order to Transfer

This case is transferred to United States Magistrate Judge

to conduct all further proceedings, including final judgment

 

 

 

Date v United States District Judge

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